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  EX. NO.     DATE       DESCRIPTION                                          BEG BATES             END BATES             TOUCHSTREAM'S
                                                                                                                          OBJECTIONS
 DTX-002    10/30/2009   Document entitled, "Xcalibur: Product                COM_00060174          COM_00060174          A, F, H, P, SM
                         Requirements Document."
 DTX-011    5/12/2010    Schwartz, "XFINITY Remote Prototype: iPad            COM_00008408          COM_00008409
                         Demo at NCTA Show."
 DTX-017    10/20/2010   Filename: Ipad Demo.mov                              COM_00000653          COM_00000653          A, H, P, SM, U

 DTX-020    11/15/2010   Strauss, "Xfinity TV News: Comcast Demos iPad        COM_00008399          COM_00008400
                         App at Web 2.0."




 DTX-021    11/15/2010   Webpage entitled, "Comcast Announces Launch          COM_00010983          COM_00010986
                         for XFINITY TV App for iPad with the Ability to
 DTX-023    11/24/2010   Filename: XFINITY TV App Feature Overview            COM_00092035          COM_00092035
                         v7.xlsx




 DTX-024    11/29/2010   Filename: XTV_GetStarted_iPad_ae3.jpg                COM_00000668          COM_00000668          A, H, P, SM

 DTX-025    6/22/2011    Document entitled, "Touchstream Technolgies,       TS_CHARTER_00024624     TS_CHARTER_00024626   R, P, SM
 DTX-029    11/2/2011    Email from M. Rinzler to J. Cohen and Founders, TS_COMCAST_00096470        TS_COMCAST_00096471   R, P, SM
                         re: Letter of intent/Thursday meeting
 DTX-031     1/6/2012    Filename: Shodogg - Video's Best Friend.mp4        COM_00105419            COM_00105419          R, P, SM
 DTX-032    1/19/2012    Email from H. Mitschele to M. Rinzler, re: Shodogg TS_COMCAST_00014059     TS_COMCAST_00014062   R, P, SM
                         checking in…
 DTX-034     3/8/2012    Email from P. Lingle to T. Werner, re: Shodogg     COM_00101614            COM_00101614          DUP, H, P, R, SM

 DTX-035     4/5/2012    Email from H. Mitschele to J. Cohen, Founders, R. TS_COMCAST_00047256      TS_COMCAST_00047257   H, A, R, P, SM
                         Lulla, and J. Cohen, re: NBC Meeting Recap
 DTX-038     5/3/2012    Filename: XFINITY TV app features by platform      COM_00007682            COM_00007682          H, R, P, SM
                         v6.xlsx
 DTX-039    5/13/2012    Document entitled, "Hotel Business Update and      TS_COMCAST_00022796     TS_COMCAST_00022797   H, R, P, SM
                         Use Case."
 DTX-040    10/19/2012   File Name: XFINITY TV app features by platform COM_00008089                COM_00008089          R, P, SM
                         v8.xlsx
 DTX-041    12/21/2012   Email from D. Ruch to G. Beyda, re: Herb           COM_00091331            COM_00091331          DUP, H, A, R, P, SM
                         Mitschele, Jamie Cohen [Shodogg] [#ix]
 DTX-042    12/21/2012   Email from G. Beyda to D. Ruch, re: Herb           COM_00091358            COM_00091359          DUP, H, A, R, P, SM
                         Mitschele, Jamie Cohen [Shodogg] [#ix]
 DTX-043     4/1/2013    Webpage entitled, "XFINITY TV Player app."         COM_00105400            COM_00105401          R, P, SM, F, A, H
 DTX-044    4/10/2013    Email from H. Mitschele to G. Beyda re: Shodogg COM_00091361               COM_00091363          DUP, H, A, R, P
                         connection
 DTX-045    4/23/2013    Calendar Invitation from G. Beyda to H. Mitschele, COM_00091287            COM_00091287
                         re: Herb Mitschele, Shodogg [#ix]
 DTX-047    5/15/2013    Webapage entitled, "Take XFINITY Apps              COM_00105398            COM_00105399          R, P, SM, F, A, H
                         wherever you go."
 DTX-048     9/3/2013    Document entitled, "Shodogg."                      TS_CHARTER_00065855     TS_CHARTER_00065855   R, P, SM
 DTX-049    11/11/2013   Filename: Cap Table.xlsx                           TS_COMCAST_00026835     TS_COMCAST_00026835   R, O, P, SM
 DTX-050    11/13/2013   Email from H. Mitschele to D. Horowitz, re: Thanks COM_00091281            COM_00091281

 DTX-051    11/21/2013   Email from H. Mitschele to K. Turner, re: yesterday TS_COMCAST_00013929    TS_COMCAST_00013931   R, P, I, SM, D, O

 DTX-052    11/21/2013   Email from H. Mitschele to D. Horowitz re:           TS_COMCAST_00065876   TS_COMCAST_00065877   R, P, I, M, D, O
                         yesterday
 DTX-054     2/3/2015    Presentation entitled, "SHODOGG - Unleash            TS_COMCAST_00019337   TS_COMCAST_00019361   R, P, I, SM
                         Every Screen."
                         Filename: NBC Final.pptx
 DTX-055    3/12/2015    Article entitled, "X1's Talking Guide Continues to   COM_00095407          COM_00095408          R, P, IM, O, H
                         Make a Difference," available at :
                         https://corporate.comcast/comcast-voices/x1s-
                         talking-guide-continues-to-make-a-difference



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  EX. NO.     DATE       DESCRIPTION                                        BEG BATES             END BATES             TOUCHSTREAM'S
                                                                                                                        OBJECTIONS
 DTX-056    1/18/2016    Email from H. Mitschele to J. Cohen, re: we need   TS_COMCAST_00056673   TS_COMCAST_00056673   R, P, F, SM
                         to convey to NBC we are not moving forward with
                         Wendy's group
 DTX-057    3/17/2016    Document entitled, "Charter Alliance Member        TS_COMCAST_00028948   TS_COMCAST_00028954   R, P, SM
                         Program (CAMP): ShoDogg | NBC Universal."
 DTX-058    3/17/2016    Document entitled, "Charter Alliance Member TS_COMCAST_00054267          TS_COMCAST_00054273   R, P, SM
                         Program (CAMP): ShoDogg | Turner."          TS_COMCAST_00054274          TS_COMCAST_00054280
                                                                     TS_COMCAST_00054281          TS_COMCAST_00054287
                         Filenames: Shodogg_TURNER_CAMP.pdf;         TS_COMCAST_00054288          TS_COMCAST_00054294
                         Shodogg_NBC_CAMP_R.pdf;                     TS_COMCAST_00054295          TS_COMCAST_00054295
                         Shodogg_ABC_CAMP.pdf;                       TS_COMCAST_00054296          TS_COMCAST_00054302
                         Shodogg_FOX_CAMP.pdf; Next steps - Shodogg; TS_COMCAST_00054303          TS_COMCAST_00054303
                         Shodogg_NBC_CAMP_R.pdf; CAMP information; TS_COMCAST_00054304            TS_COMCAST_00054304
                         Shodogg_NBC_CAMP.pdf; Re_ Update; Shodogg TS_COMCAST_00054311            TS_COMCAST_00054311
                         TB Sales Letter of Intent - signed.pdf      TS_COMCAST_00054312          TS_COMCAST_00054312

 DTX-059    3/17/2016    Email from J. Cohen to H. Mitschele, re: Hey       TS_COMCAST_00055887   TS_COMCAST_00055891   R, P, SM
                         Att: Shodogg_NBC_CAMP_R.pdf                        TS_COMCAST_00055892   TS_COMCAST_00055898
 DTX-060    6/30/2016    Presentation entitled, "X1 Architecture."          COM_00036001          COM_00036041
 DTX-061    9/13/2016    Filename: Budget as of 9.13.16.xlsx                TS_COMCAST_00021788   TS_COMCAST_00021788   R, P, O, IM, SM
 DTX-062    3/22/2017    Filename: XFINITY Stream App - SPOT Product COM_00037576                 COM_00037578          R, IM, O, SM
                         Page v1.docx
 DTX-064    4/24/2017    Email from H. Mitschele to L. Yaccarino, re:       TS_COMCAST_00054526   TS_COMCAST_00054527   R, P, IM, SM
                         Shodogg Update - Important
 DTX-065    6/15/2017    Presentation entitled, "Stock Valuation Report."   TS_COMCAST_00015611   TS_COMCAST_00015654   R, P, SM
                         Att: Touchstream Technologies, Inc. 409A DRAFT TS_COMCAST_00015655       TS_COMCAST_00015675
                         as of 10.01.16 - v2.pdf; Touchstream               TS_COMCAST_00015676   TS_COMCAST_00015730
                         Technologies, Inc. 409A Final Opinion as of
                         12.31.14.pdf
 DTX-066     4/8/2018    Article entitled, "Comcast Wins Emmy Award for COM_00095430              COM_00095431          R, P, H
                         X1 Voice Remote Technology," available at :
                         https://jobs.comcast.com/ml-ai-team-
                         page/comcast-wins-emmy-award-for-x1-voice-
                         remote-
                         technology#:~:text=The%20National%20Academy
                         %20of%20Television,software%20platform%20tha
                         t%20powers%20it.
 DTX-069     3/2/2020    Document entitled, "Intellectual Property Policy." COM_00093278          COM_00093281          H, F
 DTX-071    5/26/2023    Filename:                                          COM_00014660          COM_00014662          F
                         Xfinity_Stream_High_Level_Architecture.html
 DTX-073    5/26/2023    Filename: Xfinity_Stream_Pre-                      COM_00014793          COM_00014799          F
                         _And_Instant_Activation_Architecture.html
 DTX-074    5/26/2023    Filename:                                          COM_00014814          COM_00014817          F
                         XFINITY_Stream_Continue_Watching_Engineerin
                         g_Feature_Spec.html
 DTX-075    5/30/2023    Filename:                                          COM_00023553          COM_00023555          F, SM, R
                         Updating_Watched_Status_for_XFINITY_Stream.
                         html
 DTX-076     5/30/2023   Filename: For_You.html                             COM_00022586          COM_00022587          F, SM, R
 DTX-077     5/30/2023   Filename: Smart_Search_Flow_Proposal.html          COM_00024493          COM_00024493          F, SM, R
 DTX-078    12/22/2023   Chat between G. Beyda and A. Neudecker             COM_00091333          COM_00091333          F, R
 DTX-079     3/19/2024   Webpage entitled, "Awards & Recognition."          COM_00095445          COM_00095459          R, P, SM
                         available at :
                         https://corporate.comcast.com/press/awards
 DTX-080    3/21/2024    Filename: remote-app-maa.xlsx                      COM_00093296          COM_00093296          F, R, IM, P
 DTX-081    3/21/2024    Filename: remote-app-total-users.xlsx              COM_00093295          COM_00093295          F, A, H, P, SM
 DTX-082    4/24/2024    Webpage entitled, "XFINITY TV Remote,"             COM_00105070          COM_00105092          F, A, H, P, SM
                         available at :
                         https://appstoreconnect.apple.com/apps/2016298
                         93/distribution/activity/ios/versions
 DTX-083    4/24/2024    Webpage entitled, "XFINITY TV X1 Remote,"          COM_00105065          COM_00105069          F, A, H, P, SM
                         available at:
                         https://appstoreconnect.apple.com/apps/5277267
                         89/distribution/activity/ios/versions
 DTX-086    5/13/2024    Presentation entitled, "TV Remopte App."           COM_00105403          COM_00105408          F, A, H, P, SM
 DTX-087    5/31/2024    Filename: COM_00093296 - Monthly Users with        COM_00105431          COM_00105431          F, A, H, P, SM
                         VOD tunes.xlsx



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  EX. NO.       DATE       DESCRIPTION                                     BEG BATES                    END BATES             TOUCHSTREAM'S
                                                                                                                              OBJECTIONS
 DTX-088        9/8/2023   Touchstream's Objections and Responses to                                                          I
               12/1/2023   Comcast's First, Second, Third, and Fourth
               2/20/2024   Interrogatories (Nos. 1-12)
               3/29/2024
               4/15/2024
               5/23/2024
               6/10/2024
               6/11/2024
 DTX-089        9/8/2023   Touchstream's Objections and Responses to                                                          I
 DTX-090                   Curriculum Vitae for Dr. Kevin Jeffay
 DTX-091    11/28/2019     Consulting Agreement between Touchstream        TS_COMCAST_00046988          TS_COMCAST_00046994
                           Technologies, Inc. and David Strober
 DTX-095       9/26/2011   File history for U.S. Patent No. 8,356,251      TS_COMCAST_00011737          TS_COMCAST_00012274
 DTX-096       8/25/2017   File history for U.S. Patent No. 11,048,751     TS_COMCAST_00012295          TS_COMCAST_00013066
 DTX-097       6/30/2020   File history for U.S. Patent No. 11,086,934     TS_COMCAST_00013086          TS_COMCAST_00013840




                                                           TOUCHSTREAM'S OBJECTIONS KEY
Abbreviation               Definition
A                          Authentication, FRE 901/902
D                          Demonstrative/Should not be admitted into evidence
I                          “Incomplete”/Completeness, FRE 106
IM                         Improper – not evidence of anything
F                          Foundation, FRE 602, 901
H                          Hearsay, FRE 801, 802, 805
R                          Relevance, FRE 401, 402
O                          Overbroad, FRE 402
P                          Prejudicial, FRE 403
U                          Untimely / Never Produced / Not Produced During Discovery, FRCP 26, 37
DUP                        Duplicative
SM                         Subject to Motion (Daubert and/or motion in limine )
ND                         Testimony has not been designated
FRCP 32                    Deposition not admissible as exhibit
SO                         Violating the Court's Standing Order On The Number And Use Of Pre-Admitted
IMS                        FRE 1006
B                          Best evidence rule




Exhibit D                                                                                                                                3 of 3
